                 UNITED STATES DISTRICT COURT
           FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 THOMAS McKEOWN, JR.       :
                           :
                 PLAINTIFF :
                           :
            vs.            :                 CIVIL ACTION –LAW
                           :
 STATE FARM MUTUAL         :
 AUTOMOBILE INSURANCE      :               JURY TRIAL DEMANDED
 COMPANY                   :
                           :
                           :
                DEFENDANT :                     NO: 2:22-cv-02858


                 PRAECIPE TO WITHDRAW APPEARANCE

      Kindly withdraw the appearance of Michael J. O’Neill, Esquire. Michael J.

O’Neill is no longer employed by Fellerman & Ciarimboli Law PC, and his

appearance is withdrawn.

      Corey S. Suda Esquire, of Fellerman & Ciarimboli Law, PC is and remains

counsel of record for Plaintiff.
                      Respectfully submitted,


                      FELLERMAN & CIARIMBOLI LAW, PC




                      ___________________________________
                      Corey S. Suda, Esquire
                      183 Market Street, Suite 200
                      Kington, PA 18704

Date: March 6, 2023
